Case 3:20-cv-07721-SI Document 58-1 Filed 11/10/20 Pagetlof1

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF CALIFORNIA

Pangea Legal Services, ef ai.,
Plaintiffs,
V. Civil Action No. 3:20-cev-7721

U.S. Dept. of Homeland Security, ef al.,

Defendants.

Name” mee See ee nee ee ee Se Ne ne

CERTIFICATION OF ADMINISTRATIVE RECORD

My name is Lauren Alder Reid. I am employed with the U.S. Department of Justice ("DOJ"), as
the Assistant Director, Office of Policy, in the Executive Office for Immigration Review (EOIR).
I am responsible for the management and supervision of the Office of Policy. I was appointed to
this position on September 5, 2019, and have held it since, including on October 21, 2020, when
the Departments of Justice and Homeland Security issued the final rule, “Procedures for Asylum
and Bars to Asylum Eligibility,” 85 Fed. Reg. 67202 (Oct. 21, 2020).

I am the custodian of the signed final rule at DOJ and of a copy of the administrative record for
the rule for DOJ. I certify that, to the best of my knowledge, information, and belief, the attached
index was developed by the personnel who developed the final rule and contains all non-
privileged documents considered by DOJ, and that these documents constitute the administrative
record the agency considered in issuing the rule.

Executed this 10th day of November, 2019, in Washington, D.C.

Digitally signed
LAU R EN by LAUREN REID
Date: 2020.11.10
REI D 22:41:16 -05'00'
Lauren Alder Reid
Assistant Director

